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                   EXHIBIT F
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                                             INDEX IN SUPPORT OF MOTION TO SEAL
                                               TRIALCARD MOTION (ECF NO. 312)

                                                                                               Why a Less
                                        Basis for Sealing
                                                                                                Restrictive
                                          (Legitimate                                                           Prior Order
                                                             Clearly Defined and Serious       Alternative                      Party in
                                           Private or                                                           Sealing the
  Material/Title of Document                                 Injury that Would Result if       to the Relief                  Opposition to
                                        Public Interests                                                           Same
                                                                Relief Is Not Granted           Sought Is                       Sealing
                                         That Warrant                                                            Materials
                                                                                                    Not
                                           the Relief)
                                                                                                Available

                                        JJHCS requests       If filed on the public docket,    JJHCS            None          None
Letter from E. Evans Wohlforth,         the redaction of     these portions of the April 19    requests the
  Jr. Esq. regarding SaveOn’s           information and      letter would reveal               sealing of
 Motion to Compel TrialCard             discussion in the    confidential material relating    only the
Documents dated April 19, 2024          April 19 letter      to JJHCS’s sensitive business     information
          (ECF No. 312)                 that is not known    information.                      that will
                                        to the general                                         reveal
Page   (“runs . . . ”)                  public and which     Disclosure of this confidential   confidential
2                                       the parties agreed   and proprietary information to    information
                                        to keep              the public would cause            that is not
Page    (“. . .”), (“. . .”),           confidential.        irreparable harm to JJHCS         known to the
3      (“TrialCard . . . J&J”),         JJHCS maintains      because it would place JJHCS      general
       (“all . . . J&J”), (“J&J . . .   that these           at a competitive disadvantage     public. No
       desk”), (“feedback . . .         documents and        if its competitors secured the    less
       materials”), (“J&J . . .         exhibits contain     information.                      restrictive
       ineligible”), (“TrialCard        sensitive business                                     alternative is
       . . . litigation”), (“Work       information,                                           available or
       . . . CarePath”), (“July . . .   including the                                          practicable.
       ESI”), (“who . . .               administration of
       employees”)                      the CarePath
                                        program and
Page   (“defines . . . work”),          work by
3,     (“Work . . .”), (“Work           TrialCard.
       . . .”)
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                                                                                       Why a Less
                                     Basis for Sealing
                                                                                        Restrictive
                                       (Legitimate                                                     Prior Order
                                                         Clearly Defined and Serious   Alternative                     Party in
                                        Private or                                                     Sealing the
  Material/Title of Document                             Injury that Would Result if   to the Relief                 Opposition to
                                     Public Interests                                                     Same
                                                            Relief Is Not Granted       Sought Is                      Sealing
                                      That Warrant                                                      Materials
                                                                                            Not
                                        the Relief)
                                                                                        Available

note
1

Page   (“participated . . .
4      employees”), (“TrialCard
       . . . SaveOn”),
       (“November . . . Gooch”),
       (“draft . . . plans”)

Page   (“J&J . . . patients”)
4,
note
3

Page   (“providing . . . date”),
5      (“held . . .”), (“TrialCard
       . . . recommendation”),
       (“listing . . .
       Investigations”),
       (“TrialCard . . .
       implemented”)

Page   (“shared . . .”), (“shared
7      . . .”), (“shared . . .”)


                                                                2
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                                                                                              Why a Less
                                      Basis for Sealing
                                                                                               Restrictive
                                        (Legitimate                                                           Prior Order
                                                            Clearly Defined and Serious       Alternative                     Party in
                                         Private or                                                           Sealing the
  Material/Title of Document                                Injury that Would Result if       to the Relief                 Opposition to
                                      Public Interests                                                           Same
                                                               Relief Is Not Granted           Sought Is                      Sealing
                                       That Warrant                                                            Materials
                                                                                                   Not
                                         the Relief)
                                                                                               Available

Page    (“providing . . . MSA”)
8

Page    (“The . . . hereunder”),
13      (“gives . . . provided”)

Page    (“TrialCard . . . hereby”),
14      (“TrialCard . . . inquiry”)

Page    (“J&J . . . J&J”)
16

Exhi    Sealing of emails and         JJHCS requests        If filed on the public docket,    JJHCS           None          None
bits    confidential attachments      the redaction of      these exhibits to the April 19    requests the
1, 2,   regarding TrialCard           information in        letter would reveal               sealing of
9, &    contracts and work orders     certain exhibits to   confidential material relating    only the
15                                    the April 19 letter   to JJHCS’s sensitive business     information
                                      that is not known     information.                      that will
Exhi    Sealing of Master             to the general                                          reveal
bits    Services Agreement with       public and which      Disclosure of this confidential   confidential
3, 4    TrialCard                     the parties agreed    and proprietary information to    information
&7                                    to keep               the public would cause            that is not
                                      confidential.         irreparable harm to JJHCS         known to the
Exhi    Redaction of discovery        JJHCS maintains       because it would place JJHCS      general
bits    letters regarding

                                                                    3
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                                                                                          Why a Less
                                    Basis for Sealing
                                                                                           Restrictive
                                      (Legitimate                                                          Prior Order
                                                         Clearly Defined and Serious      Alternative                      Party in
                                       Private or                                                          Sealing the
  Material/Title of Document                             Injury that Would Result if      to the Relief                  Opposition to
                                    Public Interests                                                          Same
                                                            Relief Is Not Granted          Sought Is                       Sealing
                                     That Warrant                                                           Materials
                                                                                               Not
                                       the Relief)
                                                                                           Available

5, 6,    TrialCard issues and       that these           at a competitive disadvantage    public. No
22,      relationship               documents and        if its competitors secured the   less
38,                                 exhibits contain     information.                     restrictive
42,                                 sensitive business                                    alternative is
50 &                                information,                                          available or
53                                  including the                                         practicable.
                                    administration of
Exhi     Sealing of emails and      the CarePath
bits 8   confidential attachments   program and
10,      regarding the CarePath     JJHCS’s
13,      program and work by        contractual
14,      TrialCard                  relationship with
17,                                 and work
18,                                 performed by
19,                                 TrialCard.
20, &                               Certain of these
41                                  exhibits were
                                    produced by non-
Exhi     Redaction of discovery     party TrialCard.
bits     responses regarding
11 &     CarePath program
37




                                                                 4
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                                                          32418




                                                                                          Why a Less
                                    Basis for Sealing
                                                                                           Restrictive
                                      (Legitimate                                                         Prior Order
                                                         Clearly Defined and Serious      Alternative                     Party in
                                       Private or                                                         Sealing the
  Material/Title of Document                             Injury that Would Result if      to the Relief                 Opposition to
                                    Public Interests                                                         Same
                                                            Relief Is Not Granted          Sought Is                      Sealing
                                     That Warrant                                                          Materials
                                                                                               Not
                                       the Relief)
                                                                                           Available

Exhi   Sealing of privilege logs
bits   with details of
29 &   confidential material
30

Exhi   Redaction of subpoena
bit    quoting confidential Trial
36     Card documents

Exhi   Sealing of confidential
bit    sound recordings
40 &
41

                                    JJHCS requests       If filed on the public docket,   JJHCS           None          None
2024.05.07 JJHCS Opposition to      the redaction of     these portions of the May 7      requests the
      Trial Card Motion             information and      letter would reveal              sealing of
      (ECF No. 312-57)              discussion in the    confidential material relating   only the
                                    May 7 letter that    to JJHCS’s sensitive business    information
Page   (“described . . . other”),   is not known to      information.                     that will
3      (“stating . . .              the general public                                    reveal
       undertaking”)                and which the                                         confidential




                                                                 5
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                                                              32419




                                                                                               Why a Less
                                        Basis for Sealing
                                                                                                Restrictive
                                          (Legitimate                                                           Prior Order
                                                             Clearly Defined and Serious       Alternative                      Party in
                                           Private or                                                           Sealing the
  Material/Title of Document                                 Injury that Would Result if       to the Relief                  Opposition to
                                        Public Interests                                                           Same
                                                                Relief Is Not Granted           Sought Is                       Sealing
                                         That Warrant                                                            Materials
                                                                                                    Not
                                           the Relief)
                                                                                                Available

Page    (“forwarding . . .              parties agreed to    Disclosure of this confidential   information
4       TrialCard”), (“email . . .      keep confidential.   and proprietary information to    that is not
        program”), (“email . . .        JJHCS maintains      the public would cause            known to the
        findings”)                      that these           irreparable harm to JJHCS         general
                                        documents and        because it would place JJHCS      public. No
Page    (“that . . . discovery”)        exhibits contain     at a competitive disadvantage     less
s 5-6                                   sensitive business   if its competitors secured the    restrictive
                                        information,         information.                      alternative is
Page    (“JJHCS . . .                   including the                                          available or
10      thereunder”), (“For . . .       administration of                                      practicable.
        billing”)                       the CarePath
                                        program and
Page    (“Sections . . . litigation”)   work by
10,                                     TrialCard.
note
6

Page    (“maintained . . .
11      Orders”), (“ask . . .
        Program”), (“identifying
        . . . feeds”), (“gives . . .
        performs”)




                                                                     6
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                                                       32420




                                                                                    Why a Less
                                  Basis for Sealing
                                                                                     Restrictive
                                    (Legitimate                                                     Prior Order
                                                      Clearly Defined and Serious   Alternative                     Party in
                                     Private or                                                     Sealing the
  Material/Title of Document                          Injury that Would Result if   to the Relief                 Opposition to
                                  Public Interests                                                     Same
                                                         Relief Is Not Granted       Sought Is                      Sealing
                                   That Warrant                                                      Materials
                                                                                         Not
                                     the Relief)
                                                                                     Available

Page   (“precludes . . . PHI”),
12     (“Unless . . . Order”)

Page   (“JJHCS . . .
13,    relationship”)
note
7

Page   (“JJHCS . . .
17     undertaking”)

Page   (“establishing . . .
18     client”), (“CAP . . .
       date”), (“requests . . .
       patients”), (“the . . .
       Investigations”)

Page   (“internally . . .
18,    produced”)
note
9

Page   (“brainstormed . . .”)
19


                                                             7
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                                                                                     Why a Less
                                   Basis for Sealing
                                                                                      Restrictive
                                     (Legitimate                                                     Prior Order
                                                       Clearly Defined and Serious   Alternative                     Party in
                                      Private or                                                     Sealing the
  Material/Title of Document                           Injury that Would Result if   to the Relief                 Opposition to
                                   Public Interests                                                     Same
                                                          Relief Is Not Granted       Sought Is                      Sealing
                                    That Warrant                                                      Materials
                                                                                          Not
                                      the Relief)
                                                                                      Available

Page    (“the . . . seeks”),
19,     (“TrialCard . . . CAPa”)
note
9

Page    (“is . . . SaveOnSP”)
s 19-
20
note
11

Page    (“precluding . . .”)
20

Page    (“a . . . practices”)
20,
note
12

Page    (“. . .”), (“. . .”)
24

Page    (“. . .office”)
25


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                                                                                         Why a Less
                                 Basis for Sealing
                                                                                          Restrictive
                                   (Legitimate                                                            Prior Order
                                                       Clearly Defined and Serious       Alternative                      Party in
                                    Private or                                                            Sealing the
  Material/Title of Document                           Injury that Would Result if       to the Relief                  Opposition to
                                 Public Interests                                                            Same
                                                          Relief Is Not Granted           Sought Is                       Sealing
                                  That Warrant                                                             Materials
                                                                                              Not
                                    the Relief)
                                                                                          Available

Exhi    Sealing of Master        JJHCS requests        If filed on the public docket,    JJHCS            None          None
bit 1   Services Agreement       the redaction of      these exhibits to the May 7       requests the
                                 information in        letter would reveal               sealing of
                                 certain exhibits to   confidential material relating    only the
                                 the May 7 letter      to JJHCS’s sensitive business     information
                                 that is not known     information.                      that will
                                 to the general                                          reveal
Exhi Redaction of discovery      public and which      Disclosure of this confidential   confidential
bits   letters regarding         the parties agreed    and proprietary information to    information
4, 16, TrialCard issues          to keep               the public would cause            that is not
17,                              confidential.         irreparable harm to JJHCS         known to the
19,                              JJHCS maintains       because it would place JJHCS      general
21,                              that these            at a competitive disadvantage     public. No
22,                              documents and         if its competitors secured the    less
28,                              exhibits contain      information.                      restrictive
34,                              sensitive business                                      alternative is
36 &                             information,                                            available or
37                               including the                                           practicable.
                                 administration of
Exhi    Sealing of emails
                                 the CarePath
bits    regarding work
                                 program and
5, 6    performed by TrialCard
&7



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                                                                                    Why a Less
                                  Basis for Sealing
                                                                                     Restrictive
                                    (Legitimate                                                     Prior Order
                                                      Clearly Defined and Serious   Alternative                     Party in
                                     Private or                                                     Sealing the
  Material/Title of Document                          Injury that Would Result if   to the Relief                 Opposition to
                                  Public Interests                                                     Same
                                                         Relief Is Not Granted       Sought Is                      Sealing
                                   That Warrant                                                      Materials
                                                                                         Not
                                     the Relief)
                                                                                     Available

Exhi   Redaction of discovery     work performed
bits   responses regarding the    by TrialCard.
14 &   administration of the
20     CarePath program

Exhi   Redaction of subpoena
bit    quoting confidential
18     TrialCard documents

Exhi   Sealing of confidential
bit    documents regarding
30     work performed by
       TrialCard

Exhi   Sealing of TrialCard
bit    record
39

Exhi   Sealing of confidential
bits   sound recordings and
41,    redaction of transcripts
41A,   containing confidential
42,    health information
42A


                                                             10
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                                                                                              Why a Less
                                     Basis for Sealing
                                                                                               Restrictive
                                       (Legitimate                                                             Prior Order
                                                            Clearly Defined and Serious       Alternative                      Party in
                                        Private or                                                             Sealing the
  Material/Title of Document                                Injury that Would Result if       to the Relief                  Opposition to
                                     Public Interests                                                             Same
                                                               Relief Is Not Granted           Sought Is                       Sealing
                                      That Warrant                                                              Materials
                                                                                                   Not
                                        the Relief)
                                                                                               Available

                                       JJHCS requests       If filed on the public docket,    JJHCS            None          None
 024.05.17 -- SaveOn TrialCard         the redaction of     these portions of the May 17      requests the
          Reply Brief                  information and      letter would reveal               sealing of
      (ECF No. 312-104)                discussion in the    confidential material relating    only the
                                       May 17 letter that   to JJHCS’s sensitive business     information
Page   (“the . . . Agreement”),        is not known to      information.                      that will
3      (“complete . . .                the general public                                     reveal
       hereunder”), (“to . . .         and which the        Disclosure of this confidential   confidential
       Agreement”)                     parties agreed to    and proprietary information to    information
                                       keep confidential.   the public would cause            that is not
Page   (“audit . . . thereunder”),     JJHCS maintains      irreparable harm to JJHCS         known to the
4      (“It . . . J&J”), (“gives . . . that these           because it would place JJHCS      general
       so”), (“to . . . purposes”)     documents and        at a competitive disadvantage     public. No
                                       exhibits contain     if its competitors secured the    less
Page   (“describes . . .”), (“which sensitive business      information.                      restrictive
5,     . . . ”), (“does . . .”)        information,                                           alternative is
note                                   including the                                          available or
1                                      administration of                                      practicable.
                                       the CarePath
Page   (“accessing . . . ”),
                                       program and
6      (“TrialCard . . . herein”),
       (“at . . . here”), (“Unless
       . . . de-identified”),



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                                                                                           Why a Less
                                         Basis for Sealing
                                                                                            Restrictive
                                           (Legitimate                                                     Prior Order
                                                             Clearly Defined and Serious   Alternative                     Party in
                                            Private or                                                     Sealing the
  Material/Title of Document                                 Injury that Would Result if   to the Relief                 Opposition to
                                         Public Interests                                                     Same
                                                                Relief Is Not Granted       Sought Is                      Sealing
                                          That Warrant                                                      Materials
                                                                                                Not
                                            the Relief)
                                                                                            Available

       (“notwithstanding . . .           work performed
       Orders”)                          by TrialCard.

Page   (“lets . . . litigation”)
7

Page   (“J&J . . . J&J”), (“J&J
12     . . . effective”), (“J&J . . .
       employees”), (“TrialCard
       . . . issue”), (“TrialCard
       . . . Janssen”), (“letter . . .
       address”), (“TrialCard . . .
       CarePath”)

Page   (“pay . . .”)
13

Page   (“J&J . . .”)
15

Page   (“. . . patients”), (“. . .
16,    Program”), (“ . . .
note   Program”)
9


                                                                    12
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                                                                                           Why a Less
                                    Basis for Sealing
                                                                                            Restrictive
                                      (Legitimate                                                          Prior Order
                                                          Clearly Defined and Serious      Alternative                     Party in
                                       Private or                                                          Sealing the
  Material/Title of Document                              Injury that Would Result if      to the Relief                 Opposition to
                                    Public Interests                                                          Same
                                                             Relief Is Not Granted          Sought Is                      Sealing
                                     That Warrant                                                           Materials
                                                                                                Not
                                       the Relief)
                                                                                            Available

Page   (“the . . . SaveOnSP”),
17     (“systematic . . .
       maximizers”)

Page   (“proposed . . .
17,    conducted”),
note   (“characterizes . . .
10     recommendation”), (“the
       . . . recommendation”),
       (“the . . . itself”)

Page   (“J&J . . . requests”)
18,
note
12

Exhi   Sealing of confidential      JJHCS requests        If filed on the public docket,   JJHCS           None          None
bit    patient health information   the redaction of      these exhibits to the May 17     requests the
56                                  information in        letter would reveal              sealing of
                                    certain exhibits to   confidential material relating   only the
                                    the May 17 letter                                      information




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                                                                                         Why a Less
                                  Basis for Sealing
                                                                                          Restrictive
                                    (Legitimate                                                           Prior Order
                                                       Clearly Defined and Serious       Alternative                      Party in
                                     Private or                                                           Sealing the
 Material/Title of Document                            Injury that Would Result if       to the Relief                  Opposition to
                                  Public Interests                                                           Same
                                                          Relief Is Not Granted           Sought Is                       Sealing
                                   That Warrant                                                            Materials
                                                                                              Not
                                     the Relief)
                                                                                          Available

Exhi   Redaction of discovery     that is not known    to JJHCS’s sensitive business     that will
bits   letter regarding work      to the general       information.                      reveal
58 &   performed by TrialCard     public and which                                       confidential
67                                the parties agreed   Disclosure of this confidential   information
                                  to keep              and proprietary information to    that is not
Exhi   Sealing of emails and      confidential.        the public would cause            known to the
bits   confidential attachments   JJHCS maintains      irreparable harm to JJHCS         general
62,    regarding the              that these           because it would place JJHCS      public. No
63 &   administration of the      documents and        at a competitive disadvantage     less
64     CarePath program and       exhibits contain     if its competitors secured the    restrictive
       work performed by          sensitive business   information. It would also        alternative is
       TrialCard                  information,         improperly disclose patient       available or
                                  including the        health information.               practicable.
                                  administration of
                                  the CarePath
                                  program, work
                                  performed by
                                  TrialCard, and
                                  confidential
                                  health
                                  information for
                                  patients.




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